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                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

          I, Kasey Crump, Special Agent, Homeland Security Investigations (“HSI”), Atlanta,

Georgia, hereby depose and state the following under penalty of perjury:

          1.    I submit this affidavit in support of a criminal complaint authorizing the arrest of

Kristopher KNEUBUHLER for violations of 18 U.S.C. § 2252 (certain activities relating to

material involving the sexual exploitation of minors).

          2.    I have been employed as an HSI Special Agent (“SA”) since May 2020, and I am

currently assigned to the Atlanta, Georgia, office. While employed by HSI, I have investigated

federal criminal violations related to cybercrime, network intrusions, child exploitation, and child

pornography. I have received training in child pornography, child exploitation, money laundering,

fraud schemes, network intrusions, and cryptocurrency. I completed the Criminal Investigator

Training Program and HSI Special Agent Training at the Federal Law Enforcement Training

Center in Brunswick, Georgia. Moreover, I am a federal law enforcement officer who is engaged

in enforcing federal criminal laws, including 18 U.S.C. § 2252 et seq., and I am authorized by law

to request a search warrant.

          3.    Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint, I have not included details of every aspect or each and every fact known to me

concerning this investigation. I have set forth only those facts that I believe are necessary to

establish probable cause for the issuance of the complaint. I make this affidavit based on personal

knowledge and on the basis of information received from other law enforcement officers and/or

agents.

                                      PROBABLE CAUSE

          4.    On August 19, 2022, I received information from cryptocurrency exchange

Coinbase Global, Inc. that Kristopher KNEUBUHLER appeared to have purchased access to child

sexual abuse material (“CSAM”) through the Darkweb. Specifically, according to Coinbase,

KNEUBUHLER sent 0.00218690 Bitcoin from a Bitcoin wallet to Bitcoin address
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bc1qxa0fd9rgffznkv4l6qk8k7qn8v3e07c7jdvkw7 (the “CSAM Bitcoin Address”) on April 16,

2022.

         5.       Coinbase had been alerted to the existence of the CSAM Bitcoin Address by the

Internet Watch Foundation (IWF), a non-profit organization that seeks to identify and remove

online    child    sexual   abuse   imagery.   IWF   advised   Coinbase   that   Darkweb     URL

hxxp://w5y5puc5ry6u2dmmljplid4rz4oevqcvs3iatbpvbbfag66rv5gnxtqd.onion (“the Darkweb

Site”) was selling access to CSAM and that the CSAM Bitcoin Address was listed for customers

to send money to for the purpose of purchasing access to CSAM. Coinbase subsequently notified

HSI about KNEUBUHLER’s transaction.

         6.       In response to a subpoena, Coinbase disclosed subscriber information for the

Bitcoin wallet from which .00218690 Bitcoin were sent to the CSAM Bitcoin Wallet on April 16,

2022 as set forth in Paragraph 4 above. KNEUBUHLER was the named subscriber at 300

Anchorage Place, Roswell, GA 30076. Coinbase also produced an image of KNEUBUHLER’s

Georgia driver’s license that listed 300 Anchorage Place as KNEUBUHLER’s street address.

         7.       On December 28, 2022, a United States Magistrate Judge in the Northern District

of Georgia issued a warrant authorizing a search of 300 Anchorage Place, Roswell, GA 30076.

KNEUBUHLER was present at 300 Anchorage Place when HSI agents executed that warrant on

January 5, 2023. KNEUBUHLER was not arrested while agents searched his home, and he agreed

to talk to me and HSI SA Gabe Henson. KNEUBUHLER stated during the interview that he had

purchased CSAM from the Darkweb Site, and he confirmed that he had sent funds to the Bitcoin

CSAM Address. KNEUBUHLER further stated that he accessed the Darkweb Site multiple times

and had downloaded CSAM material from the Darkweb Site a few days prior to execution of the

search warrant. KNEUBUHLER stated that he knew the downloaded CSAM depicted minors and

explained that he re-saved the CSAM onto a flash drive so it would not be on his computer.
         8.       During the search at KNEUBUHLER’s residence, HSI SAs found multiple devices

containing CSAM. For example, use of a forensic software preview tool revealed approximately

30 images of CSAM on a laptop computer.


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       9.       On January 6, 2023, I examined the CSAM images found during the on-scene

preview of the laptop. Below are descriptions of three of those images:

             a. One image depicts a pre-pubescent female, approximately three to seven years old,

                laid on her back with no shirt on. An adult male is straddled over the female, who

                is touching the adult male’s erect penis with her hand.

             b. Another image depicts a nude pre-pubescent female, approximately three to seven

                years old, on her hands and knees while an adult male penetrates her anus with his

                erect penis.

             c. Another image depicts a pre-pubescent female, approximately three to seven years

                old, laid out with her legs spread. The female’s underwear is moved to the side to

                display her vagina, which is being penetrated by an adult male’s erect penis.

       10.      Based on the foregoing, there is probable cause to believe that beginning on or

about April 16, 2022, and continuing through on or about January 5, 2023, in the Northern District

of Georgia, KNEUBUHLER did knowingly receive and possess visual depictions of minors

engaging in sexually explicit conduct, in violation of 18 U.S.C. §§ 2252(a)(2) and 2252(a)(4)(B).




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